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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

Plaintiff,

v.
                                                Crim. No. 08-216(DRD)
CHARBEL VAZQUEZ RIJOS, ET AL.,

Defendants.


                               OPINION AND ORDER

                               I.    INTRODUCTION

     On   September      30,   2014,      Defendant     Charbel      Vazquez      Rijos

(hereinafter      “Defendant”       or    “Charbel”)        filed    a   Motion     for

Severance (Docket No. 241) seeking to sever his trial from that

of Aurea Vázquez, Jose Ferrer-Sosa, and Marcia Vazquez-Rijos.

Defendant’s grounds for seeking severance are twofold. First,

Charbel avers that he was improperly joined with the rest of the

defendants      under    Fed.R.Crim.P.         8(b),   as     the    single    charge

against   him    is     unrelated    to       the   murder-for-hire       conspiracy

charged against the other defendants.                  Second, Charbel asserts

that the evidentiary “spillover” resulting from a joint trial

mandates severance under Fed.R.Crim.P. 14, as the jury would be

“incapable of separating the evidence as relevant to each co-

defendant,    becoming     confused       about     which    evidence    relates     to

which crime and co-defendant.”            Docket No. 241, at 4.


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    On October 14, 2014, the United States filed its Response

in Opposition to Defendant’s Motion to Sever (Docket No. 246)

arguing   that    the    facts    giving       rise    to   the    murder   for      hire

conspiracy charges and Charbel’s perjury charge stem from the

same series of acts and transactions.                       Thus, bifurcating the

evidence by engaging in two separate trials would run contrary

to the primary goal of Rule 14, which is to promote efficiency

and “serve the interests of justice by avoiding the scandal and

inequity of inconsistent verdicts.”                   Id. at 4 (citing Zafiro v.

United States, 506 U.S. 534, 537 (1993)).                     Further, the United

States contends that “finger-pointing” amongst all defendants is

extremely unlikely, as all will likely argue that they never met

with Alex Pabón Colón to plot the murder of Adam Anhang.

    On November 10, 2014, Defendant filed a Reply (Docket No.

253-1) arguing that Alex Pabón’s proffered testimony cannot be

taken under consideration in decided whether joinder was proper

under Rule 8, as the allegations in the indictment govern the

analysis.

    On December 17, 2014, the United States filed a Sur-Reply

(Docket No. 273) accentuating that joinder of all defendants was

proper,   as     there   is   a    clear       overlapping        of   issues.       The

government stresses that “[t]he defendant was present at the

time that the meetings took place and he perjured himself when

he was questioned during his testimony before the federal grand

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jury.”     Id. at 2.           Further, the United States emphasizes that

the   perjury      charge      was     included          in    the   Second      Superseding

Indictment    and       that    one    of     the    government’s          witnesses         will

testify that the Defendant was present during the meetings held

to plot the murder of Adam Anhang.

                                       II.    ANALYSIS

      “The general rule is that those indicted together are tried

together     to    prevent         inconsistent          verdicts        and    to   conserve

judicial and prosecutorial resources.”                         United States v. Soto-

Beníquez, 356 F.3d 1, 29 (1st Cir. 2004); see United States v.

Maryea, 704 F.3d 55, 64 (1st Cir. 2013)(emphasizing the utility

of joint trials in cases were the defendants are charged with a

single conspiracy “so that the government could be expected to

recite   a   single      factual       history,          put   on    a   single      array     of

evidence,    and     call      a    single        group       of    witnesses.”)(internal

citations and quotations omitted).                       However, “[i]f the joinder

of    offenses     or    defendants          in     an    indictment       .     .   .   or    a

consolidation for trial appears to prejudice a defendant or the

government, the court may order separate trials of counts, sever

the defendants’ trials, or provide any other relief that justice

requires.”        Fed. R. Crim. P. 14(a) (“Rule 14”).                          Nevertheless,

Rule 14 does not mandate severance even if prejudice is shown by

the defendant, but rather “leaves the tailoring of the relief to



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be granted, if any, to the district court’s discretion.”                                      See

Zafiro v. United States, 506 U.S. 534, 538-39 (1993).

       In Zafiro, the U.S. Supreme Court explained that district

courts should only grant a severance request if “there is a

serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence.”                                  Zafiro,

506    U.S.      at     539.       The        Court       also     noted      that    mutually

antagonistic defenses for severance purposes are not prejudicial

per se, and concluded that any prejudice that may ensue could be

cured with proper jury instructions, as “juries are presumed to

follow their instructions.”                   Id. at 539-541 (quoting Richardson

v. March, 481 U.S. 200, 211 (1993)).                          In so noting, the Court

emphasized that members of the jury are instructed that the

burden      of   proving       beyond    a    reasonable          doubt      the   guilt     of   a

specific defendant falls squarely on the government.

       The First Circuit Court of Appeals has repeatedly asserted

post-Zafiro that “antagonistic defenses only require severance

if    the   tensions      between       the    defenses          are    so   great   that     the

finder      of   fact    would     have       to       believe    one     defendant    at     the

expense of the other.”              United States v. Rose, 104 F.3d 1408,

1415 (1st        Cir. 1997)(citing            United States v. Smith, 46 F.3d

1223, 1230 (1st Cir. 1995), cert. denied, 116 S. Ct. 176, 133

L.Ed.2d 116 (1995)); United States v. Floyd, 740 F.3d 22, 37

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(1st Cir. 2014).          Thus, sharply antagonistic defense theories,

as is the case of mere tattling or finger pointing between the

defendants, do not necessarily require severance.                       See Smith, 46

F.3d at 1230; United States v. Tiem Trinh, 665 F.3d 1, 19 (1st

Cir.    2011)(“Mere       fingerpointing       among      codefendants-i.e.,          the

familiar ‘he did it, not I’ defense-normally is not a sufficient

ground for severance.”)(internal citations omitted).                          Further,

defendants are not entitled to severance simply because they may

have a better chance of being acquitted if tried separately.

See Zafiro, 506 U.S. at 540.

       Further,     any    prejudice     resulting       from     the   spillover      of

evidence     that    might     not     have    been     admissible       against      the

defendant seeking severance in a separate trial may be easily

cured through limiting jury instructions.                      See Floyd, 740 F.3d

at     37   (“Where,      as   here,     there    were      appropriate       limiting

instructions        as    to   the     admissibility        of    evidence      against

particular defendants and as to the need to determine guilt on

an individual basis, no more is exigible.”)(internal citations

and quotations omitted);             see also United States v. DeLuca, 137

F.3d 24, 36-37 (1st Cir. 1998)(emphasizing that the district

court took protective measures “against prejudicial spillover by

repeatedly     instructing       the    jury     that     it     must   consider      the

evidence against each individual defendant in relation to each



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count.”)(emphasis         ours)(citing         United          States         v.    Natanel,       938

F.2d 302, 308 (1st Cir. 1991)).

     “In deciding on a motion for severance, the district court

has a duty to weigh the prejudice resulting from a joint trial

of   codefendants         against        the       expense         and    inconvenience            of

separate trials.”           United States v. Small, 423 F.3d 1164, 1181

(10th     Cir.     2005),       cert.    denied.,            546     U.S.      1190     (internal

quotations        and    citations        omitted);            see       United       States       v.

Blankenship, 382 F.3d 1110, 1120 (11th Cir. 2004)(same); United

States v. Solis, 299 F.3d 420, 441-42 (5th Cir. 2002)(same).

After   balancing        the     prejudice         resulting         from      a     joint      trial

against the expense and inconvenience of separate trials, the

Court concludes that severance is unwarranted, as any prejudice

that may ensue as a result of a joint trial                                        can be easily

mitigated        with    “repeated”       limiting           jury        instructions.              We

briefly explain.

     At     the     outset,       the     Court          accentuates           that     Charbel’s

antagonistic       defense       argument          is    unavailing,           as     no       logical

situation can arise in which the jury would be compelled to

believe one defendant at the expense of another.                                    In fact, the

Court anticipates that all codefendants will deny ever meeting

Pabón   Colón      to    plot    the     murder         of   Adam     Anhang.          Thus,       the

defenses    of     all   of     the     codefendants          seem       to    share       a   common

objective.

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      Defendant’s        spillover      argument        fares   no      better,     as   the

criminal charge against Charbel stems from the same series of

transactions as do the charges against the other codefendants.

The   Second      Superseding      Indictment        accuses       the    Defendant      of

committing perjury before the Grand Jury when he denied ever

meeting      Alex    Pabón      Colón,       Adam    Anhang’s        admitted     killer.

According to the government, Charbel and the other codefendants

partook in several meetings with Alex Pabón Colón to plot Adam

Anhang’s     murder.       These       meetings     are    therefore       part     of   the

common acts or transactions prescribed until Fed. R. Crim. P.

8(b) for proper joinder.               See United States v. Curry, 977 F.2d

1042, 1050 (7th Cir. 1992)(finding that “several courts have

specifically held that perjury counts may be considered part of

the   same      series   of     acts    or    transactions         as    the   underlying

conduct      which   was      misrepresented”)(citing              United      States    v.

Isaacs, 493 F.2d 1124, 1159 (7th Cir. 1974); United States v.

Swift,    809    F.2d    320,    322    (6th     Cir.     1987);     United    States    v.

Moeckly, 769 F.2d 453, 465 (8th Cir. 1985), cert. denied, 475

U.S. 1015, 106 S.Ct. 1196, 89 L.Ed.2d 311; United States v.

Dekle, 768 F.2d 1257, 1261–1262 (11th Cir. 1985)).

      Nevertheless, any potential prejudice that may ensue as a

result    of     evidentiary      spillover         can    be   easily      cured    using

special jury instructions, as “juries are presumed to follow

their instructions.”            Zafiro, 506 U.S. at 540-41; see Floyd, 740

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F.3d at 37;      United States v. Ramirez, 426 F.3d 1344, 1352 (11th

Cir. 2005)(holding that the district court properly denied a

motion to sever where the defendant failed to demonstrate that

the limiting instructions given to the jury were ineffective);

United    States     v.    Voigt,     89    F.3d   1050       (3rd    Cir.     1996)(jury

instructions        explaining       that    the   jury        must     consider         each

defendant’s participation in the counts charged individually,

that the burden of proof was always on the prosecution, and that

opening and closing statements were not evidence were sufficient

to cure any prejudice arising from antagonistic defenses), cert.

denied, 519 U.S. 1047.

       As the Supreme Court meritoriously explained in Zafiro, the

burden of proving a defendant’s guilt or innocence is on the

government; thus, a jury instruction explaining to the jury that

it     must   “give       separate     consideration          to      each     individual

defendant and to each separate charge against him” will suffice

to cure any possibility of prejudice.                   Id.     In other words, the

government must prove its case against each defendant, and the

jury    may   not    convict    a    defendant     on     the      basis     of   evidence

presented solely against another codefendant.

       Accordingly, Defendant’s Motion for Severance (Docket No.

241) is hereby DENIED.




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                               III. CONCLUSION

    For   the   reasons      elucidated   in   the    instant    Opinion      and

Order, the Court hereby DENIES Defendant’s Motion for Severance

(Docket No. 241).

IT IS SO ORDERED.

In San Juan, Puerto Rico, this 14th day of January, 2015.

                                          s/ Daniel R. Dominguez

                                          DANIEL R. DOMINGUEZ
                                          U.S. DISTRICT JUDGE




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